 Case 1:08-cr-00041-SPM-AK        Document 123      Filed 12/31/09   Page 1 of 3




                                                                             Page 1 of 3


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                             CASE NO.: 1:08-cr-41-SPM/AK

JOHNNY MILLER GREEN,

           Defendant.
_______________________________/


                    ORDER DENYING MOTION TO SEVER

      This cause comes before the Court on Defendant Johnny Miller Green’s

Motion to Sever (doc. 106) and the Government’s Response in Opposition (doc.

122). For the reasons expressed herein, the Motion to Sever (doc. 106) will be

denied.

      Defendant contends that a severance is required under Bruton v. United

States, 391 U.S. 123 (1968), because at trial the Government will introduce

recorded conversations between the Defendant’s co-defendant, Marcellus

Dawson, and undercover government agent Sean Quinn, allegedly implicating

the Defendant in bribery. Defendant will not have an opportunity to cross-

examine Dawson, who will exercise his right not to testify.

      Under Bruton v. United States, 391 U.S. 123 (1968), a severance of trial is
 Case 1:08-cr-00041-SPM-AK         Document 123       Filed 12/31/09    Page 2 of 3




                                                                              Page 2 of 3


required on confrontation clause grounds if a co-defendant’s confession

implicating another defendant will be admitted during a joint trial at which the

confessing co-defendant is not subject to cross-examination. A Bruton

severance is not required if the co-defendant’s confession would nevertheless be

admissible against the defendant at a separate trial. Id. at 128 n.3; United

States v. Archbold-Newball, 554 F.2d 665, 667 (5th Cir. 1977). In this case, the

Government has demonstrated that the statements at issue may be admissible

at a separate trial against Defendant as a co-conspirator statement under

Federal Rule of Evidence 801(d)(2)(E). Because the statements may be

admissible against Defendant, grounds for severance under Bruton have not

been established.

       Additionally, Bruton is inapplicable to the extemporaneous expressions

made by the co-defendant to an undercover FBI agent, whom the co-defendant

presumed was an employee of a development company, as they are not

confessions.

       Moreover, the Defendant also relies on Crawford v. Washington, 541 U.S.

36 (2004), which held that the admission of out-of-court testimonial statements of

a witness who is unavailable for cross-examination by a defendant and whom

the defendant has not had a prior opportunity to cross-examine violates the

confrontation clause. While the Supreme Court declined to “to spell out a

comprehensive definition of ‘testimonial’” it noted that “it applies at a minimum to

prior testimony at a preliminary hearing, before a grand jury, or at a former trial;
 Case 1:08-cr-00041-SPM-AK        Document 123      Filed 12/31/09     Page 3 of 3




                                                                           Page 3 of 3


and to police interrogations.” Crawford, 391 U.S. at 68. The examples provided

by the Court are markedly different in kind from the co-defendant’s conversations

with the undercover agent, whom he did not even realize was a law enforcement

agent, and are therefore not testimonial.

      Furthermore, in three of the four challenged conversations the Defendant

is not mentioned by name and is therefore not implicated at all.

      Accordingly, it is ORDERED AND ADJUDGED that the Motion to Sever

(doc. 106) is denied.

      DONE AND ORDERED this thirty-first day of December, 2009.

                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  Chief United States District Judge
